                        Case 20-17275              Doc 31         Filed 11/29/20 Entered 11/29/20 12:42:00                              Desc Main
                                                                    Document     Page 1 of 8
 Fill in this information to identify your case:

  Debtor 1                     Renee               A.                   Donfris




                                                                                                                                      .
                               First Name          Middle Name         Last Name

  Debtor 2
  (Spouse, if filing)          First Name          Middle Name         Last Name

  United States Bankruptcy Court for the:                         Northern District of Illinois

  Case number              20-17275                                                                                                    ❑    Check if this is an
  (if known)                                                                                                                                amended filing


Official Form 106C                                                                 Amended
Schedule C: The Property You Claim as Exempt                                                                                                                         04/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill out and
attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a specific dollar amount as
exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any applicable statutory limit. Some
exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement funds—may be unlimited in dollar amount. However, if you
claim an exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the property is determined to
exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1: Identify the Property You Claim as Exempt

      Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
 1.
      ✔ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      ❑
      ❑ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
 2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

 Brief description of the property and line on               Current value of the         Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                       portion you own
                                                             Copy the value from          Check only one box for each exemption.
                                                             Schedule A/B

                                                                                          ✔
 Brief description:
 10509 Oconnell Ave Mokena, IL 60448-1775                                         $0.00
                                                                                          ❑                  $0.00                 735 ILCS 5/12-901
                                                                                          ❑   100% of fair market value, up to
 Line from                                                                                    any applicable statutory limit
 Schedule A/B:           1.1


                                                                                          ✔
 Brief description:
 2011 Toyota Camry                                                                $0.00
                                                                                          ❑                  $0.00                 735 ILCS 5/12-1001(c)
                                                                                          ❑   100% of fair market value, up to
 Line from                                                                                    any applicable statutory limit
 Schedule A/B:           3.1


 3.   Are you claiming a homestead exemption of more than $170,350?
      (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
      ✔ No
      ❑
      ❑ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
         ❑ No
         ❑ Yes




Official Form 106C                                               Schedule C: The Property You Claim as Exempt                                                     page 1 of 2
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 Debtor 1              Renee             A.                     Donfris                                         Case number (if known)
                       First Name         Middle Name            Last Name


 Part 2: Additional Page

 Brief description of the property and line on          Current value of the     Amount of the exemption you claim           Specific laws that allow exemption
 Schedule A/B that lists this property                  portion you own
                                                        Copy the value from      Check only one box for each exemption.
                                                        Schedule A/B

                                                                                 ✔
 Brief description:
 U.S Treasury                                                        $4,000.00
                                                                                 ❑                $4,000.00                 735 ILCS 5/12-1001(b)
                                                                                 ❑   100% of fair market value, up to
 Line from                                                                           any applicable statutory limit
 Schedule A/B:         18




Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                  page 2 of 2
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 Fill in this information to identify your case:

  Debtor 1                   Renee                 A.                  Donfris




                                                                                                                                          .
                             First Name            Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name        Last Name

  United States Bankruptcy Court for the:                        Northern District of Illinois

  Case number             20-17275                                                                                                          ❑    Check if this is an
  (if known)                                                                                                                                     amended filing


Official Form 106E/F                                                    Amended
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                          12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Hold Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. On the top of any additional pages, write your name and case number (if known).

 Part 1: List All of Your PRIORITY Unsecured Claims

  1. Do any creditors have priority unsecured claims against you?
     ✔ No. Go to Part 2.
     ❑
     ❑ Yes.
  2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
     identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
     possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
     Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
     (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                  Total       Priority         Nonpriority
                                                                                                                                  claim       amount           amount

                                                                    Last 4 digits of account number
        Priority Creditor's Name
                                                                    When was the debt incurred?
        Number           Street                                     As of the date you file, the claim is: Check all that
                                                                    apply.
                                                                    ❑ Contingent
                                                                    ❑ Unliquidated
                                                                    ❑ Disputed
        City                               State   ZIP Code
        Who incurred the debt? Check one.
        ❑ Debtor 1 only                                             Type of PRIORITY unsecured claim:
        ❑ Debtor 2 only                                             ❑ Domestic support obligations
        ❑ Debtor 1 and Debtor 2 only                                ❑ Taxes and certain other debts you owe the
        ❑ At least one of the debtors and another                       government
        ❑ Check if this claim is for a community debt               ❑ Claims for death or person injury while you were
                                                                        intoxicated
        Is the claim subject to offset?                             ❑ Other. Specify
        ❑ No
        ❑ Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                        page 1 of 4
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                       First Name              Middle Name              Last Name

 Part 2: List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
      ❑     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      ✔
      ❑     Yes.
  4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
     unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
     than one creditor holds a particular claim, list the other creditors in Part 3. If you have more than three nonpriority unsecured claims fill out the Continuation Page of
     Part 2.
                                                                                                                                                             Total claim

4.1     Page, Edward & Lillian                                                                                                                                       $35,700.00
                                                                                  Last 4 digits of account number
        Nonpriority Creditor's Name
                                                                                  When was the debt incurred?
        6969 L.5 Ln
        Number           Street                                                   As of the date you file, the claim is: Check all that apply.
        Escanaba, MI 49829
                                                                                  ✔ Contingent
                                                                                  ❑
        City                              State     ZIP Code                      ❑ Unliquidated
        Who incurred the debt? Check one.                                         ❑ Disputed
        ✔
        ❑ Debtor 1 only                                                           Type of NONPRIORITY unsecured claim:
        ❑ Debtor 2 only                                                           ❑ Student loans
        ❑ Debtor 1 and Debtor 2 only                                              ❑ Obligations arising out of a separation agreement or
        ❑ At least one of the debtors and another                                     divorce that you did not report as priority claims
        ❑ Check if this claim is for a community debt                             ❑ Debts to pension or profit-sharing plans, and other
                                                                                      similar debts
        Is the claim subject to offset?                                           ✔ Other. Specify
                                                                                  ❑
        ✔ No
        ❑                                                                             Civil Suit: 19-24289-CH
        ❑ Yes
4.2     US Bank/RMS CC                                                            Last 4 digits of account number 4507                                                $7,077.57
        Nonpriority Creditor's Name
                                                                                  When was the debt incurred?          05/01/2019
        Attn: Bankruptcy
                                                                                  As of the date you file, the claim is: Check all that apply.
        PO Box 5229                                                               ❑ Contingent
                                                                                  ❑ Unliquidated
        Number           Street

                                                                                  ❑ Disputed
        Cincinnati, OH 45201-5229
        City                              State     ZIP Code
        Who incurred the debt? Check one.                                         Type of NONPRIORITY unsecured claim:
        ✔ Debtor 1 only
        ❑                                                                         ❑ Student loans
        ❑ Debtor 2 only                                                           ❑ Obligations arising out of a separation agreement or
        ❑ Debtor 1 and Debtor 2 only
                                                                                      divorce that you did not report as priority claims
                                                                                  ❑ Debts to pension or profit-sharing plans, and other
        ❑ At least one of the debtors and another                                     similar debts
        ❑ Check if this claim is for a community debt                             ✔ Other. Specify
                                                                                  ❑
        Is the claim subject to offset?                                               CreditCard
        ✔ No
        ❑
        ❑ Yes




Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                                          page 2 of 4
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 Debtor 1              Renee               A.                      Donfris                                           Case number (if known)
                       First Name          Middle Name              Last Name

 Part 3: List Others to Be Notified About a Debt That You Already Listed

  5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection
     agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly,
     if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons
     to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.
        Page, Edward & Lillian                                        On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
        6969 L.5 Ln                                                   Line   4.1   of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Number           Street                                                                    ✔
                                                                                                  ❑    Part 2: Creditors with Nonpriority Unsecured Claims
        Escanaba, MI 49829
       City                                     State   ZIP Code      Last 4 digits of account number 9-CH

                                                                      On which entry in Part 1 or Part 2 did you list the original creditor?

                                                                                   of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
                                                                      Line
       Number           Street                                                                     ❑ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                      Last 4 digits of account number

       City                                     State   ZIP Code




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 3 of 4
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 Debtor 1              Renee                A.                     Donfris                                     Case number (if known)
                       First Name           Middle Name             Last Name

 Part 4: Add the Amounts for Each Type of Unsecured Claim

  6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
     type of unsecured claim.




                                                                                            Total claim


                   6a. Domestic support obligations                              6a.                               $0.00
 Total claims
 from Part 1       6b. Taxes and certain other debts you owe the                 6b.                               $0.00
                       government

                   6c. Claims for death or personal injury while you             6c.                               $0.00
                       were intoxicated

                   6d. Other. Add all other priority unsecured claims.           6d.   +                           $0.00
                       Write that amount here.

                   6e. Total. Add lines 6a through 6d.                           6e.                                $0.00




                                                                                            Total claim


                   6f. Student loans                                             6f.                               $0.00
 Total claims
 from Part 2       6g. Obligations arising out of a separation                   6g.                               $0.00
                       agreement or divorce that you did not report as
                       priority claims

                   6h. Debts to pension or profit-sharing plans, and             6h.                               $0.00
                       other similar debts

                   6i. Other. Add all other nonpriority unsecured claims.        6i.    +                     $42,777.57
                       Write that amount here.

                   6j. Total. Add lines 6f through 6i.                           6j.                           $42,777.57




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                          page 4 of 4
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 Fill in this information to identify your case:

  Debtor 1                   Renee                 A.                  Donfris
                             First Name            Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name        Last Name                                                  Check if this is:

  United States Bankruptcy Court for the:                        Northern District of Illinois                                   ❑An amended filing
                                                                                                                                 ❑A supplement showing postpetition
  Case number                20-17275                                                                                                  chapter 13 income as of the following date:
  (if known)

                                                                                                                                       MM / DD / YYYY

Official Form 106I                                   Amended

Schedule I: Your Income                                                                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for supplying correct
information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse. If you are separated and your
spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Employment


 1. Fill in your employment
    information.                                                                 Debtor 1                                          Debtor 2 or non-filing spouse


     If you have more than one job,            Employment status            ✔Employed ❑Not Employed
                                                                            ❑                                                  ✔Employed ❑Not Employed
                                                                                                                               ❑
     attach a separate page with
     information about additional              Occupation                   Inside Sales                                       Carpenter
     employers.
                                               Employer's name              Barrel Accessories & Supply Company                Search Results Web results Hand Brothers
     Include part time, seasonal, or
     self-employed work.                                                                                                       Construction, LLC
                                               Employer's address          2595 Palmer Ave                                     13517 W Choctaw Trail
     Occupation may include student                                          Number Street                                      Number Street
     or homemaker, if it applies.




                                                                            University Pk, IL 60484-3115                       Homer Glen, IL 60491
                                                                             City                     State    Zip Code         City                    State      Zip Code
                                               How long employed there? 25 years                                                12 years


 Part 2: Give Details About Monthly Income


     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse unless you
     are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more space,
     attach a separate sheet to this form.

                                                                                                           For Debtor 1     For Debtor 2 or
                                                                                                                            non-filing spouse

 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions.) If not paid monthly, calculate what the monthly wage would be.              2.               $6,194.45                  $4,043.00

 3. Estimate and list monthly overtime pay.                                                  3.   +              $0.00     +                 $0.00


 4. Calculate gross income. Add line 2 + line 3.                                             4.               $6,194.45                  $4,043.00




Official Form 106I                                                           Schedule I: Your Income                                                                    page 1
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 Debtor 1                   Renee                          A.                                  Donfris                                         Case number (if known)
                            First Name                      Middle Name                         Last Name


                                                                                                                                    For Debtor 1       For Debtor 2 or
                                                                                                                                                       non-filing spouse
      Copy line 4 here....................................................................................➔            4.              $6,194.45               $4,043.00
 5.   List all payroll deductions:
      5a. Tax, Medicare, and Social Security deductions                                                                5a.             $1,294.42               $1,560.00
      5b. Mandatory contributions for retirement plans                                                                 5b.                $0.00                    $0.00
      5c. Voluntary contributions for retirement plans                                                                 5c.              $667.10                    $0.00
      5d. Required repayments of retirement fund loans                                                                 5d.                $0.00                    $0.00
      5e. Insurance                                                                                                    5e.              $772.93                    $0.00
      5f. Domestic support obligations                                                                                 5f.                $0.00                    $0.00
      5g. Union dues                                                                                                   5g.                $0.00                    $0.00

      5h. Other deductions. Specify:                                                                                   5h.   +             $0.00     +             $0.00

 6.   Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                       6.            $2,734.45                $1,560.00
 7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                                               7.            $3,460.00                $2,483.00
 8.   List all other income regularly received:
      8a. Net income from rental property and from operating a business,
          profession, or farm
            Attach a statement for each property and business showing gross receipts,
            ordinary and necessary business expenses, and the total monthly net income.                                8a.                $0.00                    $0.00
      8b. Interest and dividends                                                                                       8b.                $0.00                    $0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
          regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                                                       8c.                $0.00                    $0.00
      8d. Unemployment compensation                                                                                    8d.                $0.00                    $0.00
      8e. Social Security                                                                                              8e.                $0.00                    $0.00
      8f. Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                                                   8f.                $0.00                    $0.00
      8g. Pension or retirement income                                                                                 8g.                $0.00                    $0.00

      8h. Other monthly income. Specify:                                                                               8h.   +             $0.00     +             $0.00


 9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                            9.                  $0.00                    $0.00

 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse                                         10.            $3,460.00    +            $2,483.00       =      $5,943.00

 11. State all other regular contributions to the expenses that you list in Schedule J.
      Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
      friends or relatives.
      Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

      Specify:                                                                                                                                                          11. +            $0.00
 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. Write that
     amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                                            12.            $5,919.00

                                                                                                                                                                                Combined
                                                                                                                                                                                monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
      ✔ No.
      ❑
      ❑Yes. Explain:

Official Form 106I                                                                                        Schedule I: Your Income                                                         page 2
